Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 1 of 18




                                                   11/21/2024
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 2 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 3 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 4 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 5 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 6 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 7 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 8 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 9 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 10 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 11 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 12 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 13 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 14 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 15 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 16 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 17 of 18
Case 2:24-cr-00015-RFB-NJK   Document 33   Filed 11/21/24   Page 18 of 18
